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oF

United States Bankruptcy Court for the:

ae

mee
ae Fogas

aa
Se

District of

>
ae

EE

~r
er

tog tt

Chapter you are filling under:
Cl Chapter 7
C) Chapter 11
Cl] Chapter 12
{A Chapter 13

Case number (it known}:

ft
i
Salt

CY Check if this is an
amended filing

Shy
LSIBKe

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12122

The bankruptcy forms use you and Debtor 7 to refor to a debtor filing alone. A married couple may file a bankruptcy case together—called a
Joint case—and in joint cases, these forms use you to ask for Information from both debtors, For exampie, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debfor 2, The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. if two married people are filing together, both are equaily responsible for supplying correct
Information. If more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case number
{if known). Answer every question.

Ce Identify Yourself

About Debtor 4: About Debtor 2 (Spouse Only in a Joint Case):

fhopyeee a/
WIART Ew

4. Your full name

Bring your picture
identification to your meeting

with the trustee.

Aff #4)

Suffix (Sr, Jr, H, Ll)

Write the name thatis on your = Frct name First name
government-issued picture >? 4 } ge
identification (for example, vat i cc
your drive7’s license or Middename == Middle name
passporl), | 4 gb Est

Last name Last name

Suffix (Sr., Jr, Ul, WY)

2. Alf other names you

Business name (If applicable)

Business name (if applicable)

have used in the last 8 First name First name
years
Middle name Midcla name
Include your married or
maiden names and any
Last nama
assumed, trade names and Last name
doing business as names. _
First name First name
Do NOT list the name of any
separale legal entity such as =
. * i Middle name
a corporation, partnership, or Middle name
LLG that is not fillng this
petition. Last name Last name

Business name (if applicable)

Business name (if applicable}

3. Only the last 4 digits of

Identification number

your Social Security XxX ARK = XX
number or federal OR og OR
Individual Taxpayer . b >

y 9xx — xx = is Pad 9xx — xx =

_AITIN)
Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 1
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Debtor 1

pores A DALE.

Boks |

First Name Middle Name

4. Your Employer
Identification Number
(EiN}, if any.

5. Where you live

6, Why you are choosing
this district to file for
bankruptcy

Official Form 101

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Lasi Name

About Debtor 1:

EIN”

SQ feb Ck

Number Street
LU VSoK Pa iSksy
City State ZIP Code |
(6 ONE B WD
County

If your mailing address is different from the one
above, fill {t In hare. Note that the court will send
any notices to you at this mailing address.

Number Street

P.O, Box

City State ZiP Code

Check one:

U Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district,

2 | have another reason, Explain.
(See 28 U.S.C. § 1408,)

(hie Hevse 3 §
if 6 BE / mies ee
kD ip Fed

£ j Ue

(26 2Y

Case number if known)

About Debtor 2 (Spouse Only in a Joint Case):

EIN”

EIN”

If Debtor 2 lives at a different address:

Number Street

City Stata ZIP Cade

County

If Debtor 2's mailing address is different from
yours, fill It in here. Note that the court will send
any notices to this mailing address.

Number Street

P.O” Box

City State ZIP Code

Check one:

Lt Over the last 180 days before filing this petition,
1 have lived in this district longer than in any
other district.

LL) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Voluntary Petition for Individuals Filing for Bankruptcy

Main Document

page 2

Desc

Debtor 1

Mm WET: iv 5 4 je’ Poy tS {

jee’ Case number {if known)

First Name fiddle Name

Last Name

ee Tell the Court About Your Bankruptcy Case

j

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Gode you for Bankruptcy (Form 2010)), Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under C) Chapter 7

UO chapter 11 |
(J Chapter 12 .
2 Chapter 13
8. How you will pay the fee I will pay the entire fee when | file my petition. Please check with the clerk's office in your
| local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
_] I need to pay the fee in installments. If you choose this option, sign and aitach the
Application for individuals to Pay The Filing Fee in installments (Official Form 103A).
QO | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do sc only if your income is
less than 150% of the official poverty fine that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

9. Have you filed for CINe
bankruptcy within the
last 8 years? (al Yes. District When Case number

MM/ DD/YYYY

District When Case number
MM/ DDS YYYY

District When Case number
MM / DDIYYYY

40. Are any bankruptcy Gi No
cases pending or being ‘
filed by a spouse who is Cl] Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM/DD LYYYY
partner, or by an
affiliate?

Debtor Relationship to you
District When Case number, if known
MM /DD/YYYY
Do you rent your QA No. Geo to line 12.

an

residence?

Official Form 101

Yes. Has your landlord obtained an eviction judgment against you?

LI) No. Go to line 12.

(I) Yes. Fill out initial Statement About an Eviction Judgment Againsf You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3

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Debtor 1

Mm Wid De

ie ae é y
fami 8 we Case number (it known)

First Name

Middle Nantes

Last Name

EERE eron About Any Businesses You Own as a Sole Proprietor

|
12

. Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLG,

If you have more than one
sole proprietorship, use a
separate shee and attach it
io this petition.

EY No. Go to Part 4.

1] Yes. Name and jocation of business

Name of business, if any

Number Street

Cy State ZIP Code
Check the appropriate box to describe your business:

(4 Health Care Business (as defined In 11 U.S.C. § 104(27A)}

(J Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

(1) Stockbroker (as defined in 11 U.S.C. § 101(53A))

LJ Commodity Broker (as defined in 11 U.S.C. § 194(6))

LI None of the above

: 13.

Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor or a debtor as
defined by 11 U.S.C. §
1182(1}?

For a definition of smaff
business debtor, see

11 U.S.C. § 104(51D).

Official Form 107

if you are filing under Chapter 11, the court must know whether you are a smail business debtor or a debtor
choosing to praceed under Subchapter V so that it can set appropriate deadiines. If you indicate that you
are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1146(1}(B).

_a No. am not filing under Chapter 14.

LI No. jam filing under Chapter 14, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

QO) Yes. | am filing under Chapter 14, | am a smail business debtor according {o the definition in the Bankruptcy
Code, and | do not choose fo proceed under Subchapter V of Chapter 11.

C) Yes. | am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the
Bankruptcy Gode, and | choose to praceed under Subchapter V of Chapter 11.

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WARE) Be Roped
Debtor | FO AK fot Me fe (SRS F Case number (# known)

Fitsl Name Middle Name Lasi Name

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any DINo

property that poses or is
alleged to pose athreat {1 Yes. Whats the hazard?

of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs H immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?
Number Street

City State ZIP Code

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Debtar 1 pr BEG ee

AACE

(02: psh

Case number ¢if known}

First Name

ttiddie Name

Last Name

fod Explain Your Effarts to Receive a Briefing About Credit Counseling

: 16. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credil
i counseling before you file for
i bankrupicy. You must
i truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

L) i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and 1 received a
certificate of completion.

Attach a copy of the certificate and ihe payment
plan, if any, that you developed with the agency.

1) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptey petition, but ido not havea
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

| cartify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary walver of the
requirement, aitach a separaie sheei explaining
what efforts you made fo obtain the briefing, why
you were unable to obtain it before you fiied for
bankruptcy, and what exigeni circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankrupicy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a cerlificale from ihe approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and fs limited lo a maximum of 15
days.

L] | am not required to recelve a briefing about
credit counseling because of:

(a Incapacity, | have a mental Iiness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

CL) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after f

reasonably iried to do so.

(] Active duty. | am currently on active military
duty in a military combat zone.

if you belleve you are not requied io receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

You must check one:

(J | received a briefing from an approved credit
counseling agency withln the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Affach a copy of the ceriificate and the payment
plan, if any, that you developed with the agency.

L) | received a briefing from an approved credit
counseling agency within the 180 days before]
filed this bankruptcy petition, but 1 do not have a |
certificate of completion. :

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment -
plan, if any.

CJ | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made lo obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if ihe court is
dissatisfied wilh your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
siill receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any, If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline Is granted
only for cause and Is limited to a maximum of 16
days.

tam not required to receive a briefing about
credit counseling because of:

i.) Incapacity. {have a mental illness or a mental |
deficiency that makes me |
incapable of realizing or making
rational decisions about finances,

LI Disability. My physical disability causes me

to be unable to participate ina
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling. you must file a
motion for walver of credit counseling with the court.

page 6

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(9 : 3 me oat A / 4 fe. i “ 2 5 4 7

Middle Name

Case number (if known),

Debtor 1

First Name Last Name

Answer These Questions for Reporting Purposes

i6a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

Ne. Go te line 16b,
L] Yes. Ge to line 17.

| 46, What kind of debts do
/ You have?

16b. Are your debts primarily business debts? Business debts are debts that you Incurred to obtain
money for a business or investment or through the operation of the business or investment.

® No. Go te line 166.
C) Yes. Ge to tine 47.

16c, Stale the type of debts you owe that are not consumer debts or business debts.

47. Are you filing under
Chapter 7?

Do you estimate that after LJ Yes. | am filing under Chapter 7. Do you estimate thal after any exempt properly is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

a No. | am not filing under Chapter 7. Go to Hine 18.

excluded and OO No
i administrative expenses
are paid that funds will be UI Yes
available for distribution
18. How many creditors do 1-49 O) 1,000-5,000 CL) 25,001-50,000
| you estimate that you C) 50-99 J) 5,001-16,000 L] 50,001-100,000
owe? tl 100-199 UL) 10,001-25,000 C) More than 100,000
| eewinenennnewe C1 200-998 unm wanting ee
; 19. How much do you WM) $0-$50,000 C) $4,000,004-$14 million C1 $500,600,001-$4 billlon

i 20.

estimate your assets to
be worth?

How much do you
estimate your llabilities
to be?

, Sign Below

C] $59,001-$100,000
L) $100,001-$500,000

L) $500,004-$1 million

© $0-$50,000

{7 $50,001-$100,000
C] $100,001-$500,000
1 $500,001-$1 million

LJ $46,000,004-$50 milton
(J $50,000,001-3100 million

(2 $100,000,004-$509 million

J $1,006,001-$19 million

L9 $10,006,001-$50 milion
L) $50,000,001-$100 million
LI $100,000,001-$509 mittion

LJ $4,000,000,001-$40 billion
Cd $10,000,000,001-$50 billlon
LI More than $50 billion

CI $500,000,001-$1 bition

LI $4,000,000,004-$19 billion
CI $10,000,000,004-$40 billion
L} More than $5¢ billion

For you

Official Form 104

i have examined this petition, and | dectare under penaily of perjury that the Information provided is true and

correct.

HI have chosen to file under Chapter 7, | am aware that [ may proceed, if eligible, under Chapter 7, 11,12, or 13

of title 11, United States Code, | understand the relief available under each chapter, and | choose io proceed

under Chapter 7.

ii no atterney represents me and | did not pay or agree to pay someone who is not an allorney to help me fill out

this document, | have obtained and read the notice required by 11 U.S.C. § 342(b)}.

[request reilef In accordance with the chapler of tife 11, United States Code, specified in this petition.

Funderstand making a false statement, concealing property, or obtaining money or property by fraud in connection

with a bankruptcy case can resull in fines up to $250,000, ar Imprisonment for up to 20 years, or both.
18.U.S.G, §§ 152, #341, 1549, and 3571,

x Aten Dale Bert x

Signature of Debtor 1

Execiited on bb Ib aby!

Signature of Debtor 2

MM f oD Ay

Voluntary Petition for Individuals Filing for Bankruptcy

Executed on
MM / OD /YYYY

page 7

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foe

. represented by one

i
i

Debtor 1

First Name Middle Name Lasl Name

For your attorney, if you are

Case number (if known),

If you are not represented knowledge after an inquiry that the Information in the schedules filed with the petition Is incorrect.

by an attorney, you do not

i, the altorney for the debtor{s} named in thls patition, declare that | have informed the debtor(s} about eligibility
to proceed under Chapter 7, 14, 12, or 13 of title 11, United States Code, and have explained the relief
avallable under each chapter for which the person is eligible. | also certify that] have delivered to the debtor{s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)4){D) applies, certify that | have no

; need fo file this page. x

i Date
Signature of Attorney for Debior MM / pn /YYYY
Printed nama
Firm name
Number Street
City State ZIP Cade
Contact phone Email address
Bar aurber State

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Debtor 4 Gase number (it known)

Fits Name Middle Name Last Name
For you if you are filing this Tha law allows you, as an individual, to represent yourself in bankruptcy court, but you
, bankruptcy without an should understand that many people find it extremely difficult to represent
, attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

| If you are represented by
' an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

‘ need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be

dismissed because you did net file a required document, pay a fee on time, aitend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is seiected for audit. If that happens, you could jose your right io file another
case, of you may lose protections, including the benefit of the automatic stay,

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. if you do not fist a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to Keep the property, The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the courl expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be farniilar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with fong-term financial and legal
consequences?

UC] No
A Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
Inaccurate or incomplete, you could be fined or imprisoned?

U) No
id Yes
Did you pay or agree to pay someone who is not an attorney to help you filf out your bankruptcy forms?

No

L) Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

i a 4
eH f- : ef fa wnfid
ff Cfep Ahab J oh fo. ise det x
Signature of Debtor 1 Signature of Debtor 2
° a fe on “VS
Date fy hb Zoek “} Dale
MM/DD f¥YYY MM/ DD IYYYY
i
Contact phone __-? Contact phone
£-%p 2, ony Cop BS
Cell phone at /€ Es f zl A Cell phone
Coit ete g
{ Emailaddress ee ge SP SIE Cerra Email address
Official Form 101 Voluntary Petition for Individuais Filing for Bankruptcy page ¢

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